                                          CIVIL
                 Case 2:23-cv-02174-WJM-JBC
JS 44 (Rev. 04/21)                              COVER
                                            Document 1-1 SHEET
                                                          Filed 04/18/23 Page 1 of 1 PageID: 23
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
       Our Own Candle Company, Inc.                                                                       GIVAUDAN S.A.; GIVAUDAN FRAGRANCES
                                                                                                          CORPORATION; et al.
   (b)    County of Residence of First Listed Plaintiff          Chautauqua, NY                           County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

   (c)    Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
Carella Byrne Cecchi Olstein Brody & Agnello, P.C.
5 Becker Farm Rd., Roseland, NJ 08540 (973)994-1700
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government              x3      Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                      of Business In This State

  2    U.S. Government                 4    Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                 Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                             FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability         690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment
      & Enforcement of Judgment
                                      320 Assault, Libel &
                                           Slander
                                                                          Pharmaceutical
                                                                          Personal Injury
                                                                                                                                         PROPERTY RIGHTS               x   410 Antitrust
                                                                                                                                                                           430 Banks and Banking
                                                                                                                                         820 Copyrights
  151 Medicare Act                    330 Federal Employers’              Product Liability                                              830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                     New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                      840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                  Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
x1     Original
       Proceeding
                          2 Removed from
                            State Court
                                                             3     Remanded from
                                                                   Appellate Court
                                                                                               4 Reinstated or
                                                                                                 Reopened
                                                                                                                           5 Transferred from
                                                                                                                             Another District
                                                                                                                                                  6 Multidistrict
                                                                                                                                                      Litigation -
                                                                                                                                                                                       8 Multidistrict
                                                                                                                                                                                         Litigation -
                                                                                                                             (specify)                Transfer                           Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           15 U.S.C. 15(a) and 26
VI. CAUSE OF ACTION                    Brief description of cause:
                                                                         Antitrust
VII. REQUESTED IN     x CHECK IF THIS IS A CLASS ACTION                                             DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                               JURY DEMAND:                 x Yes            No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                         DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
         4/18/2023                                                                  /s/ James E. Cecchi
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                     APPLYING IFP                                    JUDGE                           MAG. JUDGE
